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                          UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF MASSACHUSETTS
                                   BOSTON DIVISION


STUDENTS FOR FAIR ADMISSIONS, INC.,

                               Plaintiff,                   Civil Action No. 1:14-cv-14176-ADB

       v.

PRESIDENT AND FELLOWS OF HARVARD                            Oral Argument Requested
COLLEGE (HARVARD CORPORATION),

                               Defendant.

                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant President and Fellows of Harvard College (“Harvard”) moves the Court for

summary judgment on the remaining counts (Counts I, II, III, and V) of Students for Fair

Admissions, Inc.’s (“SFFA’s”) complaint (Dkt. 1). The grounds for this motion are set forth in

Harvard’s Memorandum in Support of this motion, Statement of Undisputed Material Facts, and

Declaration of Felicia Ellsworth and attached exhibits.

       First, Harvard is entitled to summary judgment on all remaining counts because there is

no genuine dispute of material fact that SFFA lacks standing to pursue this litigation. SFFA is

not a true membership organization that can sue on behalf of its members; it is a litigation

vehicle designed to further the ideological objectives of its founder, Edward Blum. In addition,

discovery has revealed that SFFA’s “standing members” lack the concrete stake in the outcome

of this dispute required by Article III.

       Second, Harvard is entitled to summary judgment on Count I because there is no genuine

dispute of material fact that Harvard does not discriminate against applicants of any race,

including Asian Americans. No documentary or testimonial evidence supports SFFA’s claim of

discrimination, and SFFA’s statistical arguments depend on a model of the Harvard admissions
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process that excludes numerous factors relevant to the admissions process and numerous

applicants who participate in that process. The model offered by Harvard’s expert, which

accounts for all observable information concerning the admissions process, finds no evidence of

discrimination.

       Third, Harvard is entitled to summary judgment on Count II because there is no genuine

dispute of material fact that Harvard does not engage in “racial balancing” or impose racial

quotas of any kind. No documentary or testimonial evidence supports SFFA’s allegation that

Harvard manipulates its admissions process to produce a class with a desired racial composition,

and unrebutted statistical analysis demonstrates that the racial composition of Harvard’s admitted

classes has varied significantly from year to year.

       Fourth, Harvard is entitled to summary judgment on Count III because there is no

genuine dispute of material fact that Harvard’s admissions process reviews each applicant as a

whole person, using race flexibly and as only one factor among many. The unrebutted record

establishes that each applicant to Harvard is considered as an individual and that race does not

have a mechanical effect or overwhelm the effects of other factors.

       Finally, Harvard is entitled to summary judgment on Count V because there is no

genuine dispute of material fact that there are no race-neutral measures that would permit

Harvard to attain an exceptional class that is racially diverse, at a tolerable administrative

expense, and without compromising Harvard’s pursuit of excellence in all forms. Harvard has

carefully studied and will continue to study its many existing race-neutral practices, as well as

numerous potential practices it might employ. At present, however, no workable race-neutral

alternatives would allow it to achieve its diversity-related educational objectives while also

maintaining its standards of excellence.




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       WHEREFORE, Harvard respectfully requests that the Court enter judgment in its favor

on Counts I, II, III, and V of SFFA’s complaint.

                                                       Respectfully submitted,

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Dated: June 15, 2018                                   Counsel for Defendant President and
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.


                                                       /s/ Seth P. Waxman
                                                       Seth P. Waxman




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